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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                             Chapter 11

FCC HOLDINGS, INC., et al.,1                       Case No. 14-11987 (CSS)
                                                   Jointly Administered
                                   Debtors.
                                                   Hearing Date: January 16, 2018 at 11:00 a.m. (ET)
                                                   Obj. Deadline: January 9, 2018 at 4:00 p.m. (ET)

        NOTICE OF SIXTH OMNIBUS OBJECTION (SUBSTANTIVE) OF THE
     LIQUIDATING TRUSTEE TO CLAIMS PURSUANT TO BANKRUPTCY CODE
       SECTIONS 105 AND 502 AND RULE 3007 OF THE FEDERAL RULES OF
                        BANKRUPTCY PROCEDURE

    PLEASE REVIEW THE EXHIBITS TO THE OBJECTION TO IDENTIFY IF YOUR
                  CLAIM IS SUBJECT TO THIS OBJECTION.

                 Clingman & Hanger Management Associates, LLC, the liquidating trustee for the

FCC Holdings, Inc. Liquidation Trust (the “Liquidating Trustee”), by and through its

undersigned counsel, has filed the Sixth Omnibus Objection (Substantive) of the Liquidating

Trustee to Claims Pursuant to Bankruptcy Code Sections 105 and 502 and Rule 3007 of the

Federal Rules of Bankruptcy Procedure (the “Objection”).

                 Responses, if any, to the Objection must be in writing, filed with the United States

Bankruptcy Court for the District of Delaware, 824 Market Street, Wilmington, Delaware 19801

on or before January 9, 2018 at 4:00 p.m. Prevailing Eastern Time (the “Response Deadline”).

At the same time, you must also serve a copy of the response so as to be received by the

following by no later than the Response Deadline:




1
         The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
         identification number, are: FCC Holdings, Inc. (6928); Education Training Corporation (1478); High-Tech
         Institute Holdings, Inc. (4629); EduTech Acquisition Corporation (8490); and High-Tech Institute, Inc.
         (3099).



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       Womble Bond Dickinson (US) LLP
       Matthew P. Ward, Esq.
       Ericka F. Johnson, Esq.
       222 Delaware Avenue, Ste. 1501
       Wilmington, DE 19801

            A HEARING ON THE OBJECTION WILL BE HELD ON JANUARY 16, 2018
AT 11:00 A.M. PREVAILING EASTERN TIME BEFORE THE HONORABLE
CHRISTOPHER S. SONTCHI, UNITED STATES BANKRUPTCY COURT JUDGE, 824 N.
MARKET STREET, FIFTH FLOOR, WILMINGTON, DE 19801 ONLY IF RESPONSES ARE
FILED AND RECEIVED BY THE RESPONSE DEADLINE.

         IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE,
THE COURT MAY GRANT THE RELIEF DEMANDED BY THE OBJECTION
WITHOUT FURTHER NOTICE OR HEARING.

                                        WOMBLE BOND DICKINSON (US) LLP
Dated: December 12, 2017
       Wilmington, Delaware
                                        /s/ Ericka F. Johnson
                                        Matthew P. Ward (Del. Bar No. 4471)
                                        Ericka F. Johnson (Del. Bar No. 5024)
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                                        Counsel for the Liquidating Trustee




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